                             UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION
                            DOCKET NO. 3:13-cr-00042-MOC-DSC

UNITED STATES OF AMERICA,                     )
                                              )
                                              )
                                              )
Vs.                                           )                      ORDER
                                              )
CHRISTOPHER LEE WILKES,                       )
                                              )
                  Defendant.                  )



         THIS MATTER is before the court on the government’s Motion to Dismiss. Having

considered the government’s motion and reviewed the pleadings, the court enters the following

Order.

                                         ORDER

         IT IS, THEREFORE, ORDERED that the government’s Motion to Dismiss (#19) is

GRANTED, and Counts 1, 2,3, 4, 5, 13, 14, and 15 of the Indictment are DISMISSED

WITHOUT PREJUDICE as to this defendant.

              Signed: May 3, 2013




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